      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 1 of 51 PageID #:1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ALMA MANZANARES, Individually                  )
and as Mother and Next Friend of ALMA          )
ADELINA ESPINOZA MANZANARES,                   )
a Minor,                                       )
                                               )
              Plaintiffs,                      )
                                               )
       v.                                      )
                                               )           No.
THE UNITED STATES OF AMERICA;                  )
ADVOCATE SHERMAN HOSPITAL,                     )
an Illinois corporation;                       )
TATIANA PEREIRA DACUNHA, M.D.;                 )
MARJORIE LYNN SEVERSON-                        )
LENOX, A.P.N.;                                 )
ADVOCATE HEALTH AND                            )
HOSPITALS CORPORATION d/b/a                    )
ADVOCATE MEDICAL GROUP,                        )
an Illinois corporation;                       )
ASHOK KUMAR–MEHTA, M.D.; and,                  )           Plaintiffs Demand Trial By Jury
WELL CARE NEONATOLOGISTS,                      )
S.C., an Illinois corporation,                 )           Attorney’s Affidavit Attached
                                               )
              Defendants.                      )           Physicians’ Affidavits Attached

                                   COMPLAINT AT LAW

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through her attorneys, Burke

Wise Morrissey & Kaveny, complaining of the defendants, state as follows:

                               JURISDICTION AND VENUE

       1.      At all times to this action, GREATER ELGIN FAMILY CARE CENTER

(“GEFCC”) was a community health center which had been deemed an employee of the United

States Public Health Service, pursuant to 42 U.S.C. §233(g)-(k).
      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 2 of 51 PageID #:2




       2.      At all times relevant to this action, DIANE LYNN SMITH, C.N.M. was an

employee of GEFCC.

       3.      This Court has original jurisdiction over this matter pursuant to 28 USC

§ 1346(b), 2671-2680 and 42 U.S.C. § 233 (g)-(k), as the plaintiffs hereby made a civil claim

against the United States, for money damages, for personal injuries caused by the negligent or

wrongful act or omission of employees of GEFCC, a community health center which has been

deemed an employee of the United States Public Health Service pursuant to 42 U.S.C.

§ 233(g)-(k). (See Acknowledgement of Receipt of Administrative Claim, attached hereto as

Exhibit A.)

       4.      Pursuant to the Federal Tort Claims Act, 28 USC § 1346(b), 2671-2680,

defendant, THE UNITED STATES OF AMERICA, is liable for personal injury or death caused

by the negligent or wrongful acts and omissions of any deemed employee of the United States

government while acting within the scope of their office or employment.

       5.      On April 29, 2016, Plaintiff presented her claim to the United States Department

of Health and Human Services, pursuant to 28 U.S.C. § 2675(a), and her claim was denied by the

agency in writing and sent by certified mail on September 13, 2016. (See Notice of Final

Determination, attached hereto as Exhibit B.)

       6.      Pursuant to 28 USC § 1367(a), this Court has supplemental jurisdiction over all

other claims alleged herein because these claims are so related to claims in this action within the

Court’s original jurisdiction that they form part of the same case or controversy under Article III

of the United States Constitution 28 U.S.C.A. § 1367 (West 2015).




                                            -2-
      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 3 of 51 PageID #:3




        7.      Venue is proper in this judicial district, pursuant to 28 U.S.C. § 1391(e), as (i) all

defendants reside in the district, (ii) a substantial part of the events or omissions giving rise to the

claim occurred in this district, and (iii) the plaintiffs reside within the district.

                                 FACTS COMMON TO ALL CLAIMS

        8.      That on or about June 17, 2015, ADVOCATE SHERMAN HOSPITAL

(“ADVOCATE SHERMAN HOSPITAL”), was a hospital organized and existing pursuant to the

laws of the State of Illinois.

        9.      That on or about June 17, 2015, and at all times material herein, ADVOCATE

HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE MEDICAL GROUP

(“ADVOCATE MEDICAL GROUP”), was an Illinois corporation organized and existing

pursuant to the laws of the State of Illinois and was doing business in Cook County, Illinois.

        10.     That on or about June 17, 2015, and at all times material herein, WELL CARE

NEONATOLOGISTS, S.C. (“WELL CARE NEONATOLOGISTS”), was an Illinois

corporation organized and existing pursuant to the laws of the State of Illinois and was doing

business in Cook County, Illinois.

        11.     That on or about June 17, 2015, and at all times material herein, defendant,

DIANE LYNN SMITH, C.N.M. was a nurse midwife certified in the state of Illinois

        12.     That on or about June 17, 2015, and at all times material herein, defendant,

DIANE LYNN SMITH, C.N.M. was an employee, officer, agent, and/or apparent agent of

GEFCC, a federally funded community health center.

        13.     That on or about June 17, 2015, and at all times material herein, defendant,

DIANE LYNN SMITH, C.N.M., was an employee, officer, agent, and/or apparent agent of

ADVOCATE SHERMAN HOSPITAL.




                                               -3-
      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 4 of 51 PageID #:4




        14.     That on or about June 17, 2015, and at all times material herein, defendant,

TATIANA PEREIRA DACUNHA, M.D. was a physician licensed to practice medicine in the

State of Illinois.

        15.     That on or about June 17, 2015, and at all times material herein, defendant,

TATIANA PEREIRA DACUNHA, M.D., was an employee, officer, agent, and/or apparent

agent of ADVOCATE MEDICAL GROUP.

        16.     That on or about June 17, 2015, and at all times material herein, defendant,

TATIANA PEREIRA DACUNHA, M.D., was an employee, officer, agent, and/or apparent

agent of ADVOCATE SHERMAN HOSPITAL.

        17.     That on or about June 17, 2015, and at all times material herein, defendant,

MARJORIE LYNN SEVERSON-LENOX, A.P.N., was an advanced practice nurse certified to

practice in the State of Illinois.

        18.     That on or about June 17, 2015, and at all times material herein, defendant,

MARJORIE LYNN SEVERSON-LENOX, A.P.N., was an employee, officer, agent, and/or

apparent agent of ADVOCATE MEDICAL GROUP.

        19.     That on or about June 17, 2015, and at all times material herein, defendant,

MARJORIE LYNN SEVERSON-LENOX, A.P.N., was an employee, officer, agent, and/or

apparent agent of ADVOCATE SHERMAN HOSPITAL.

        20.     That on or about June 17, 2015, and at all times material herein, defendant,

ASHOK KUMAR–MEHTA, M.D. was a physician licensed to practice medicine in the State of

Illinois, specializing in neonatal-perinatal medicine.




                                             -4-
     Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 5 of 51 PageID #:5




      21.    That on or about June 17, 2015, and at all times material herein, defendant,

ASHOK KUMAR–MEHTA, M.D., was an employee, officer, agent, and/or apparent agent of

WELL CARE NEONATOLOGISTS.

      22.    That on or about June 17, 2015, and at all times material herein, defendant,

ASHOK KUMAR–MEHTA, M.D., was an employee, officer, agent, and/or apparent agent of

ADVOCATE SHERMAN HOSPITAL.

      23.    That on and before June 17, 2015, and at all times material hereto, defendant,

ADVOCATE SHERMAN HOSPITAL, held themselves out to the public and plaintiff, ALMA

MANZANARES, as having skilled health care workers.

      24.    That on or about June 17, 2015, plaintiff, ALMA MANZANARES, was 38.2

weeks pregnant.

      25.    That on or about June 17, 2015, plaintiff, ALMA MANZANARES, was admitted

to defendant, ADVOCATE SHERMAN HOSPITAL, for the purpose of management of her

pregnancy.

      26.    That on or about June 17, 2015, defendant, DIANE LYNN SMITH, C.N.M. was

the attending midwife for plaintiff, ALMA MANZANARES.

      27.    That on or about June 17, 2015, plaintiff, ALMA MANZANARES, underwent a

vaginal delivery of her daughter, ALMA ADELINA ESPINOZA MANZANARES.

      28.    That on or about June 17, 2015, plaintiff’s minor, ALMA ADELINA ESPINOZA

MANZANARES, received medical care and treatment from defendant, DIANE LYNN SMITH,

C.N.M.




                                       -5-
      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 6 of 51 PageID #:6




       29.     That on or about June 17, 2015, plaintiff’s minor, ALMA ADELINA ESPINOZA

MANZANARES, received medical care and treatment from defendant, TATIANA PEREIRA

DACUNHA, M.D.

       30.     That on or about June 17, 2015, plaintiff’s minor, ALMA ADELINA ESPINOZA

MANZANARES, received medical care and treatment from defendant, ASHOK KUMAR-

MEHTA, M.D.

       31.     That on or about June 17, 2015, plaintiff’s minor, ALMA ADELINA ESPINOZA

MANZANARES, received medical care and treatment from defendant, MARJOIRE LYNN

SEVERSON-LENOX, A.P.N.

                                            COUNT I

The United States of America – Medical Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, THE UNITED STATES OF

AMERICA and its employee, DIANE LYNN SMITH, C.N.M. (“SMITH”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count I.

       32.     That on June 17, 2015, defendant, THE UNITED STATES OF AMERICA

through its employee, SMITH, was negligent in one or more of the following respects:

               (a)     Failed to come and assess Ms. Manzanares during the active stage
                       of labor;

               (b)     Failed to place an internal fetal scalp electrode at 8:39 p.m., during
                       the second stage of labor;

               (c)     Failed to monitor fetal well-being;




                                            -6-
      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 7 of 51 PageID #:7




                 (d)    Failed to recognize the presence of fetal jeopardy during the course
                        of labor; and,

                 (e)    Failed to perform appropriate maneuvers to relieve shoulder
                        dystocia including corkscrew maneuver, performing a large
                        episiotomy and delivering the posterior arm.

       33.       That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, THE UNITED STATES OF AMERICA through its

employee, SMITH, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a

personal and pecuniary nature resulting in permanent harm and disability.

       34.       Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, THE UNITED STATES OF AMERICA through its employee, DIANE LYNN

SMITH, C.N.M., for compensatory damages in an amount to be determined herein, for the costs

of this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                            COUNT II

The United States of America – Medical Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, THE UNITED STATES OF

AMERICA and its employee, DIANE LYNN SMITH, C.N.M. (“SMITH”), states as follows:




                                             -7-
      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 8 of 51 PageID #:8




       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count II.

       32.     That on June 17, 2015, defendant, THE UNITED STATES OF AMERICA

through its employee, SMITH, was negligent in one or more of the following respects:

               (a)     Failed to come and assess Ms. Manzanares during the active stage
                       of labor;

               (b)     Failed to place an internal fetal scalp electrode at 8:39 p.m., during
                       the second stage of labor;

               (c)     Failed to monitor fetal well-being;

               (d)     Failed to recognize the presence of fetal jeopardy during the course
                       of labor; and,

               (e)     Failed to perform appropriate maneuvers to relieve shoulder
                       dystocia including corkscrew maneuver, performing a large
                       episiotomy and delivering the posterior arm.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, THE UNITED STATES OF AMERICA through its

employee, SMITH, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a

personal and pecuniary nature resulting in permanent harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).




                                            -8-
      Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 9 of 51 PageID #:9




       35.       Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, THE UNITED STATES OF AMERICA through its employee, DIANE LYNN

SMITH, C.N.M., for compensatory damages in an amount to be determined herein, for the costs

of this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                            COUNT III

Tatiana Pereira Dacunha, M.D. – Medical Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, TATIANA PEREIRA

DACUNHA, M.D. (“DACUNHA”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count III.

       32.       That on June 17, 2015, defendant, DACUNHA, was negligent in one or more of

the following respects:

                 (a)    Failed to timely and properly resuscitate Baby Alma and to
                        document resuscitative efforts and results;

                 (b)    Failed to obtain follow-up blood gases in a previously non-acidotic
                        baby after normalization of Baby Alma’s heart rate with extensive
                        resuscitative efforts; and,

                 (c)    Improperly stopped all resuscitative measures and extubated Baby
                        Alma despite improving signs of bilateral breath sounds, blood


                                             -9-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 10 of 51 PageID #:10




                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, DACUNHA, ALMA ADELINA ESPINOZA

MANZANARES, suffered injuries of a personal and pecuniary nature resulting in permanent

harm and disability.

       34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, Tatiana Pereira Dacunha, M.D., for compensatory damages in an amount to be

determined herein, for the costs of this action, and for any and all other relief that the Court may

deem proper under the circumstances.

                                           COUNT IV

Tatiana Pereira Dacunha, M.D. – Medical Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, TATIANA PEREIRA

DACUNHA, M.D. (“DACUNHA”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count IV.

       32.     That on June 17, 2015, defendant, DACUNHA, was negligent in one or more of

the following respects:



                                            -10-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 11 of 51 PageID #:11




               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, DACUNHA, ALMA ADELINA ESPINOZA

MANZANARES, suffered injuries of a personal and pecuniary nature resulting in permanent

harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, TATIANA PEREIRA DACUNHA, M.D., for compensatory damages in an amount to

be determined herein, for the costs of this action, and for any and all other relief that the Court

may deem proper under the circumstances.


                                           -11-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 12 of 51 PageID #:12




                                           COUNT V

Advocate Sherman Hospital – Agency – Tatiana Pereira Dacunha, M.D. – Medical
Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through her attorneys, Burke

Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE SHERMAN HOSPITAL

(“ADVOCATE SHERMAN HOSPITAL”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count V.

       32.     That on June 17, 2015, defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

DACUNHA, was negligent in one or more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

DACUNHA, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a personal

and pecuniary nature resulting in permanent harm and disability.




                                           -12-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 13 of 51 PageID #:13




       34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE SHERMAN HOSPITAL, for compensatory damages in an amount to

be determined herein, for the costs of this action, and for any and all other relief that the Court

may deem proper under the circumstances.

                                           COUNT VI

Advocate Sherman Hospital – Agency – Tatiana Pereira Dacunha, M.D. – Medical
Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE SHERMAN

HOSPITAL (“ADVOCATE SHERMAN HOSPITAL”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count VI.

       32.     That on June 17, 2015, defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

DACUNHA, was negligent in one or more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,




                                           -13-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 14 of 51 PageID #:14




               (c)    Improperly stopped all resuscitative measures and extubated Baby
                      Alma despite improving signs of bilateral breath sounds, blood
                      pressure and heart rate without documentation of progressive
                      acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

DACUNHA, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a personal

and pecuniary nature resulting in permanent harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE SHERMAN HOSPITAL, for compensatory damages in an amount to

be determined herein, for the costs of this action, and for any and all other relief that the Court

may deem proper under the circumstances.




                                           -14-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 15 of 51 PageID #:15




                                            COUNT VII

Advocate Health and Hospitals Corporation, d/b/a Advocate Medical Group – Agency –
Tatiana Pereira Dacunha, M.D. – Medical Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE HEALTH AND

HOSPITALS CORPORATION, d/b/a ADVOCATE MEDICAL GROUP (“ADVOCATE

MEDICAL GROUP”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count VII.

       32.     That on June 17, 2015, defendant, ADVOCATE MEDICAL GROUP, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

DACUNHA, was negligent in one or more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE MEDICAL GROUP, by and through the

acts and/or omissions of its agent, servant, employee and/or apparent agent, DACUNHA, ALMA

ADELINA ESPINOZA MANZANARES, suffered injuries of a personal and pecuniary nature

resulting in permanent harm and disability.



                                            -15-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 16 of 51 PageID #:16




       34.       Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION, d/b/a ADVOCATE

MEDICAL GROUP, for compensatory damages in an amount to be determined herein, for the

costs of this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                             COUNT VIII

Advocate Health and Hospitals Corporation, d/b/a Advocate Medical Group – Agency –
Tatiana Pereira Dacunha, M.D. – Medical Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE HEALTH AND

HOSPITALS CORPORATION, d/b/a ADVOCATE MEDICAL GROUP (“ADVOCATE

MEDICAL GROUP”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count VIII.

       32.       That on June 17, 2015, defendant, ADVOCATE MEDICAL GROUP, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

DACUNHA, was negligent in one or more of the following respects:

                 (a)    Failed to timely and properly resuscitate Baby Alma and to
                        document resuscitative efforts and results;




                                             -16-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 17 of 51 PageID #:17




               (b)    Failed to obtain follow-up blood gases in a previously non-acidotic
                      baby after normalization of Baby Alma’s heart rate with extensive
                      resuscitative efforts; and,

               (c)    Improperly stopped all resuscitative measures and extubated Baby
                      Alma despite improving signs of bilateral breath sounds, blood
                      pressure and heart rate without documentation of progressive
                      acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE MEDICAL GROUP, by and through the

acts and/or omissions of its agent, servant, employee and/or apparent agent, DACUNHA, ALMA

ADELINA ESPINOZA MANZANARES, suffered injuries of a personal and pecuniary nature

resulting in permanent harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION, d/b/a ADVOCATE

MEDICAL GROUP, for compensatory damages in an amount to be determined herein, for the




                                           -17-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 18 of 51 PageID #:18




costs of this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                           COUNT IX

Marjorie Lynn Severson-Lenox, A.P.N.– Medical Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, MARJORIE LYNN SEVERSON-

LENOX, A.P.N. (“SEVERSON-LENOX”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count IX.

       32.       That on June 17, 2015, defendant, SEVERSON-LENOX, was negligent in one or

more of the following respects:

                 (a)   Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

                 (b)   Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

                 (c)   Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.       That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, SEVERSON-LENOX, ALMA ADELINA ESPINOZA

MANZANARES, suffered injuries of a personal and pecuniary nature resulting in permanent

harm and disability.




                                           -18-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 19 of 51 PageID #:19




       34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, MARJORIE LYNN SEVERSON-LENOX, A.P.N., for compensatory damages in an

amount to be determined herein, for the costs of this action, and for any and all other relief that

the Court may deem proper under the circumstances.

                                           COUNT X

Marjorie Lynn Severson-Lenox, A.P.N. – Medical Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, MARJORIE LYNN SEVERSON-

LENOX, A.P.N. (“SEVERSON-LENOX”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count X.

       32.     That on June 17, 2015, defendant, SEVERSON-LENOX, was negligent in one or

more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.


                                           -19-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 20 of 51 PageID #:20




       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, SEVERSON-LENOX, ALMA ADELINA ESPINOZA

MANZANARES, suffered injuries of a personal and pecuniary nature resulting in permanent

harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, MARJORIE LYNN SEVERSON-LENOX, A.P.N., for compensatory damages in an

amount to be determined herein, for the costs of this action, and for any and all other relief that

the Court may deem proper under the circumstances.

                                           COUNT XI

Advocate Sherman Hospital – Agency – Marjorie Lynn Severson-Lenox, A.P.N. – Medical
Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE HEALTH AND



                                           -20-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 21 of 51 PageID #:21




HOSPITALS CORPORATION, d/b/a ADVOCATE SHERMAN HOSPITAL (“ADVOCATE

SHERMAN HOSPITAL”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XI.

       32.     That on June 17, 2015, defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

SEVERSON-LENOX, was negligent in one or more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

SEVERSON-LENOX, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a

personal and pecuniary nature resulting in permanent harm and disability.

       34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION, d/b/a ADVOCATE


                                           -21-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 22 of 51 PageID #:22




SHERMAN HOSPITAL, for compensatory damages in an amount to be determined herein, for

the costs of this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                            COUNT XII

Advocate Health and Hospitals Corporation, d/b/a Advocate Sherman Hospital – Agency –
Marjorie Lynn Severson-Lenox, A.P.N. – Medical Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE HEALTH AND

HOSPITALS CORPORATION, d/b/a ADVOCATE SHERMAN HOSPITAL (“ADVOCATE

SHERMAN HOSPITAL”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XII.

       32.       That on June 17, 2015, defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

SEVERSON-LENOX, was negligent in one or more of the following respects:

                 (a)   Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

                 (b)   Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

                 (c)   Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.       That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE SHERMAN HOSPITAL, by and



                                            -22-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 23 of 51 PageID #:23




through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

SEVERSON-LENOX, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a

personal and pecuniary nature resulting in permanent harm and disability.

       34.       As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.       Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION, d/b/a ADVOCATE

SHERMAN HOSPITAL, for compensatory damages in an amount to be determined herein, for

the costs of this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                           COUNT XIII

Advocate Health and Hospitals Corporation, d/b/a Advocate Medical Group – Agency –
Marjorie Lynn Severson-Lenox, A.P.N. – Medical Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE HEALTH AND



                                            -23-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 24 of 51 PageID #:24




HOSPITALS CORPORATION, d/b/a ADVOCATE MEDICAL GROUP (“ADVOCATE

MEDICAL GROUP”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XIII.

       32.     That on June 17, 2015, defendant, ADVOCATE MEDICAL GROUP, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

SEVERSON-LENOX, was negligent in one or more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE MEDICAL GROUP, by and through the

acts and/or omissions of its agent, servant, employee and/or apparent agent, SEVERSON-

LENOX, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a personal and

pecuniary nature resulting in permanent harm and disability.

       34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION, d/b/a ADVOCATE


                                             -24-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 25 of 51 PageID #:25




MEDICAL GROUP, for compensatory damages in an amount to be determined herein, for the

costs of this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                            COUNT XIV

Advocate Health and Hospitals Corporation, d/b/a Advocate Sherman Hospital – Agency –
Marjorie Lynn Severson-Lenox, A.P.N. – Medical Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE HEALTH AND

HOSPITALS CORPORATION, d/b/a ADVOCATE MEDICAL GROUP (“ADVOCATE

MEDICAL GROUP”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XIV.

       32.       That on June 17, 2015, defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

SEVERSON-LENOX, was negligent in one or more of the following respects:

                 (a)   Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

                 (b)   Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

                 (c)   Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.       That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE MEDICAL GROUP, by and through the



                                            -25-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 26 of 51 PageID #:26




acts and/or omissions of its agent, servant, employee and/or apparent agent, SEVERSON-

LENOX, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a personal and

pecuniary nature resulting in permanent harm and disability.

       34.       As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.       Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE HEALTH AND HOSPITALS CORPORATION, d/b/a ADVOCATE

medical group, for compensatory damages in an amount to be determined herein, for the costs of

this action, and for any and all other relief that the Court may deem proper under the

circumstances.

                                           COUNT XV

Ashok Kumar–Mehta, M.D. – Medical Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ASHOK KUMAR–MEHTA, M.D.

(“KUMAR–MEHTA”), states as follows:


                                            -26-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 27 of 51 PageID #:27




       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XV.

       32.     That on June 17, 2015, defendant, KUMAR–MEHTA, was negligent in one or

more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, KUMAR–MEHTA, ALMA ADELINA ESPINOZA

MANZANARES, suffered injuries of a personal and pecuniary nature resulting in permanent

harm and disability.

       34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ASHOK KUMAR–MEHTA, M.D., for compensatory damages in an amount to be

determined herein, for the costs of this action, and for any and all other relief that the Court may

deem proper under the circumstances.




                                            -27-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 28 of 51 PageID #:28




                                            COUNT XVI

Ashok Kumar–Mehta, M.D. – Medical Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ASHOK KUMAR–MEHTA, M.D.

(“KUMAR–MEHTA”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XVI.

       32.     That on June 17, 2015, defendant, KUMAR–MEHTA, was negligent in one or

more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

               (b)     Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,

               (c)     Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, KUMAR–MEHTA, ALMA ADELINA ESPINOZA

MANZANARES, suffered injuries of a personal and pecuniary nature resulting in permanent

harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses


                                            -28-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 29 of 51 PageID #:29




incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiffs is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ASHOK KUMAR–MEHTA, M.D., for compensatory damages in an amount to be

determined herein, for the costs of this action, and for any and all other relief that the Court may

deem proper under the circumstances.

                                          COUNT XVII

Advocate Sherman Hospital – Agency – Ashok Kumar–Mehta, M.D. – Medical
Negligence – Personal Injury

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE SHERMAN

HOSPITAL (“ADVOCATE SHERMAN HOSPITAL”), states as follows:

       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XVII.

       32.     That on June 17, 2015, defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

KUMAR–MEHTA, was negligent in one or more of the following respects:

               (a)     Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;




                                             -29-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 30 of 51 PageID #:30




               (b)    Failed to obtain follow-up blood gases in a previously non-acidotic
                      baby after normalization of Baby Alma’s heart rate with extensive
                      resuscitative efforts; and,

               (c)    Improperly stopped all resuscitative measures and extubated Baby
                      Alma despite improving signs of bilateral breath sounds, blood
                      pressure and heart rate without documentation of progressive
                      acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

KUMAR–MEHTA, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a

personal and pecuniary nature resulting in permanent harm and disability.

       34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiff is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE SHERMAN HOSPITAL, for compensatory damages in an amount to

be determined herein, for the costs of this action, and for any and all other relief that the Court

may deem proper under the circumstances.

                                         COUNT XVIII

Advocate Sherman Hospital – Agency – Ashok Kumar–Mehta, M.D. – Medical
Negligence – Family Expense Act

       Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke Wise Morrissey & Kaveny, complaining of defendant, ADVOCATE SHERMAN

HOSPITAL (“ADVOCATE SHERMAN HOSPITAL”), states as follows:


                                           -30-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 31 of 51 PageID #:31




       1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XVIII.

       32.     That on June 17, 2015, defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

KUMAR–MEHTA, was negligent in one or more of the following respects:

               (a)    Failed to timely and properly resuscitate Baby Alma and to
                      document resuscitative efforts and results;

               (b)    Failed to obtain follow-up blood gases in a previously non-acidotic
                      baby after normalization of Baby Alma’s heart rate with extensive
                      resuscitative efforts; and,

               (c)    Improperly stopped all resuscitative measures and extubated Baby
                      Alma despite improving signs of bilateral breath sounds, blood
                      pressure and heart rate without documentation of progressive
                      acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, ADVOCATE SHERMAN HOSPITAL, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

KUMAR–MEHTA, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a

personal and pecuniary nature resulting in permanent harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).




                                              -31-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 32 of 51 PageID #:32




        35.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiff is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

        WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, ADVOCATE SHERMAN HOSPITAL, for compensatory damages in an amount to

be determined herein, for the costs of this action, and for any and all other relief that the Court

may deem proper under the circumstances.

                                            COUNT XIX

Well Care Neonatologists, S.C. – Agency – Ashok Kumar–Mehta, M.D. – Medical
Negligence – Personal Injury

        Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke    Wise     Morrissey    &    Kaveny,    complaining     of   defendant,    WELL       CARE

NEONATOLOGISTS, S.C. (“WELL CARE NEONATOLOGISTS”), states as follows:

        1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XIX.

        32.     That on June 17, 2015, defendant, WELL CARE NEONATOLOGISTS, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

KUMAR–MEHTA, was negligent in one or more of the following respects:

                (a)    Failed to timely and properly resuscitate Baby Alma and to
                       document resuscitative efforts and results;

                (b)    Failed to obtain follow-up blood gases in a previously non-acidotic
                       baby after normalization of Baby Alma’s heart rate with extensive
                       resuscitative efforts; and,




                                            -32-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 33 of 51 PageID #:33




                (c)    Improperly stopped all resuscitative measures and extubated Baby
                       Alma despite improving signs of bilateral breath sounds, blood
                       pressure and heart rate without documentation of progressive
                       acidosis or parental consent.

        33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, WELL CARE NEONATOLOGISTS, by and through

the acts and/or omissions of its agent, servant, employee and/or apparent agent, KUMAR–

MEHTA, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a personal and

pecuniary nature resulting in permanent harm and disability.

        34.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiff is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.

        WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, WELL CARE NEONATOLOGISTS, S.C., for compensatory damages in an amount

to be determined herein, for the costs of this action, and for any and all other relief that the Court

may deem proper under the circumstances.

                                            COUNT XX

Well Care Neonatologists, S.C. – Agency – Ashok Kumar–Mehta, M.D. – Medical
Negligence – Family Expense Act

        Plaintiffs, ALMA MANZANARES, Individually and as Mother and Next Friend of

ALMA ADELINA ESPINOZA MANZANARES, a Minor, by and through their attorneys,

Burke    Wise     Morrissey    &     Kaveny,    complaining      of   defendant,    WELL       CARE

NEONATOLOGISTS, S.C. (“WELL CARE NEONATOLOGISTS”), states as follows:

        1.-31. Plaintiffs restate, reallege and specifically incorporate paragraphs 1 through 31 as

though fully set forth in this Count XX.


                                            -33-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 34 of 51 PageID #:34




       32.     That on June 17, 2015, defendant, WELL CARE NEONATOLOGISTS, by and

through the acts and/or omissions of its agent, servant, employee and/or apparent agent,

KUMAR–MEHTA, was negligent in one or more of the following respects:

               (a)    Failed to timely and properly resuscitate Baby Alma and to
                      document resuscitative efforts and results;

               (b)    Failed to obtain follow-up blood gases in a previously non-acidotic
                      baby after normalization of Baby Alma’s heart rate with extensive
                      resuscitative efforts; and,

               (c)    Improperly stopped all resuscitative measures and extubated Baby
                      Alma despite improving signs of bilateral breath sounds, blood
                      pressure and heart rate without documentation of progressive
                      acidosis or parental consent.

       33.     That as a direct and proximate result of one or more of the above-mentioned

negligent acts or omissions by defendant, WELL CARE NEONATOLOGISTS, by and through

the acts and/or omissions of its agent, servant, employee and/or apparent agent, KUMAR–

MEHTA, ALMA ADELINA ESPINOZA MANZANARES, suffered injuries of a personal and

pecuniary nature resulting in permanent harm and disability.

       34.     As a further direct and proximate result of one or more of all of the acts of

negligence recited herein, plaintiff, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES, a Minor, has and may have in

the future become responsible for medical, hospital, rehabilitation, and healthcare expenses

incurred on behalf of ALMA ADELINA ESPINOZA MANZANARES pursuant to the

provisions of the Illinois Family Expense Act (750 ILCS 65/15).

       35.     Pursuant to the Illinois Code of Civil Procedure, Section 2-622, the Affidavit of

the attorney for the plaintiff is attached hereto as Exhibit A, along with a report of a qualified

health professional as Exhibit B.




                                           -34-
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 35 of 51 PageID #:35




       WHEREFORE, plaintiffs, ALMA MANZANARES, Individually and as Mother and

Next Friend of ALMA ADELINA ESPINOZA MANZANARES demand judgment against

defendant, WELL CARE NEONATOLOGISTS, S.C., for compensatory damages in an amount

to be determined herein, for the costs of this action, and for any and all other relief that the Court

may deem proper under the circumstances.

                                         JURY DEMAND

       Plaintiffs demand trial by jury on all Counts of their Complaint.



                                               By:




Francis P. Morrissey
fpm@bwmklaw.com
Illinois State Bar I.D. No. 6216580
Michael L. Gallagher
mlg@bwmklaw.com
Illinois State Bar I.D. No. 6281432
Burke Wise Morrissey & Kaveny
161 North Clark Street, Suite 3250
Chicago, Illinois 60601
(312) 580-2040
(312) 580-2041




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        Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 36 of 51 PageID #:36


        DEPARTMENT OF'IMALTH & HLI]VTAN SERVTCES                    Of{ice of the General Counsel
                                                                    General Law Division

{{ç                                                                 330 C Street. S.W.
                                                                    Switzer Building Suite 2600
                                                                    Wa.shington,   D.C. 20201




                                                May   5,    2Q16

                                                REFER   TO:    2016-0381



      Francis P. Morrissey, Esquire
      Burke, Itlj-se, Morrissey & Kaveny, LLC
      161 North Clark Street, Suite 3250
      Chicago, Illlnois 60601-
               RE:   Al¡na Manzanares, Individually, and as mother and
                     next friend of Baby A-lma Manzanares Espinoza
      Dear Mr. Morrissey:
      This will acknovüledge receipt of your cl-ient's claim relating to
      personal injuries sustained to the claimant's baby, Alma Manzanares
      Bspinoza on ,June 11 , 2015, as the result of labor and delivery
      care rendered Ms. Manzanares by alleged employees of the Greater
      Elgin Family Care Center, in trlgin, Nèw York. Your client's claim
      and one set of rnedical records were received in this office on May
      4t 2A16, for considerat"ion and reply.
      The Fede::ally Supported Health Centers Assistance Act of 19921
      Publ jc Law N<¡. 1-02-501-, 42 U.S.C. 233 (q) (k) , and the amended
      ï|ederally Supported Health Centers Assistance Act of l-995, Public
      Law No. 104*73, 42 U.S.C. S 2AI, provides that the FederaL Tort
      Clai¡ns Àct is the exclusive remedy for injuries, including deat.h,
      caused bY e¡nplç)fees qf, a. deened Com¡qnity Hep'tth Cente{ which
      occurred on or ab,out January 1., 1993, or when the HeaLth Center was
      deemed   eligÍbJ.e for   coveËage.

      In order to properly evaluate your cLient's clai¡n for damages,
      please submit the following required evidence to this office, at
      the address J-ísted above:
        1)     This office requires        THREE COPIES     of private.
               non-Health Center medical. reeords; P1ease
               forward fWO MORE COPIES of recordsi
               Since the records are voluminous, they may be sent
               to this office on CD, provided that you supply
               TWO IDENTICAL COPIES of the CÐ;

                                                  EXHIBIT

                                                        A
   Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 37 of 51 PageID #:37



                                 2



           PLEASE NOTE THAT CD'S M('SÎ BE SENT TO THTS OFFTCE
           usrNc rED EX, UPS OR DHL.
  2)       One copy    of all pertinent medical bills;
  3)       Evidence substantiating any economic l-oss claimed
           as   damages;

  4)       Any other evidence or information which may have
           a bearing on the j.nvolved Heafth Center and/or the
           employees involved for the injuries cl-aimed;
IT IS   RECOMMEìIÐED THATAI.T, EVIDENCE BE SUBù{TTTED TO THIS OFFICE VTA
F:EÐ EtC¿ UÞg OR DHL. ,ÐUE TO THE RAÐIATION PROCESS USED BY rHE_U.S.
posTAL SERVÎCE E'OR THE PELTVERY OF MAIL TO Af.L rtÐERjAf. BUIUDINGS IN
THE WASHINGTON, D.C. ÀREA.

Upon receipt of the additional copies of the medical records, a
medical revj-ew by an appropriate specialist will be performed to
assess the merits of your client's claim. When the review process
has been completed, you will be notified in writing. llowever,
shouJ"d the Eix month etatute e¡çpire before the completion of the
medical review, vou mav oonsider the cLai:n deemed denied and fiL-e
suit, in the aor¡rorcriate U.S- Þi      Court l¿5 e-E.-R- S 35-2lb)
and 38 U.S,C. S 2675(a)ì.
Please be advised that all evldence must be furnished by the
claimant within a reasonable períod of time. By operation of 45
C.F.R. S 35.4(d), a claimant's failure to furnish evidence
necessary to make a determination of his/her claim withj-n THRËB
MONTHS after a request has been made, may be deemed an abandonment
of the claim. Further, a claimant's failure to provide requested
evi-dence during the administrative claim process may result in a
fincling that hislher administrat-ive remedies have not been
exhausted, even if suit is fil.ed more than six months after filing
an adminj"strative claim. See Swifl; v. tlnited-$taLes, 614î.2d872
(1"' Cir. 1980 ) .
PI.EJASE   BE ADVISED TTÍAT STATT'S INFOR¡dATION REGARDING CIJITMS    IN   Ot'R
OT'TICE    IS   UNAVAIIÀBI,E.

                                        Yours   truly,

                                         J.     AVi
                                        Paralegal Specialist
                                        Claims Office
     Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 38 of 51 PageID #:38

     DEPARTMENT OF HEALTH & HI]MAN SERVICES                              OFT.ICTJ OF   ]1IE GLiNIjRAI, COIJNSBI,
                                                                         (ìeneral l.,nw Division/Cþ)Ì,t]



                                                                         330 C Stre¿t, S.W.
                                                                         Switzer Building, Suite 2ó00
                                                                         Washington, D.C. 20201




                                            $rP   1   3    ?tl6

CERTIFIED        -   RETT]RN
RECATPT       I?.gCITIESTED


Francis P. Morrissey, Esquire
Burke, Wi.se, Morrissey & Kaveny/          LLC
161 Nort"h Clark Street
Suite    3250
Chicaqo, lllinois              60601

         RE            Administ-rative Claim of: Alma Manzanares/ individualJy
                       and as Mother anci Next. Friencl of Baby Alm¿r Manzanares
                       Esp-i.noza 2016-0381
Dear Mr. Morrissey:
On May   4, 2076, you filed an a<jrninistrative Lort cJ"aj-m under Lhe Federal
TorE Claims Acl (*F?CA"), 28 U.S.C. SS 1346(b) . 2401(b) , 2.6'17.-2.684, on
beha.l f of ycur client, A-ì.ma Manzanar:es, i.ndividually, and as Mother ancl
Next Fr:-Lend of Baby A-Lma Manzanares, a-l.leging, inter aJi.a, that employees
aL Lhe Greater Elgin Farni.ly Car:e¡ Center were negli-gent: in tileir de}i.ver:y
of Alma Manzana.res Espinoza on June 17, 2A7.5, resul-tirig in severe ancl
pe   rrnanenL    bi¡t"h injr-rries.
The FTCIA aut.i:orizes t-he seltlenent of any c;1ain of money clamages against
Lhe Unj.ted Stat.es for, i.nt.er a),ia, injury or death causecl by the
neglì"gent, or w.rongful, act or omissicn of any em¡1l-oyee of Lhe Federa-l
Gover:nmen[., while acting wiLhrn l-he scopc of enplor¡ment" Uncler Lhe FT'CA,
sai.<l act or: omj,.ss-i-on must be such thal l.Ìie Unit.ed,StaLe:;, if a pr:ivate
per:son/ woul-d be -l.j"ab-Le lo th.e clainant j,n accorrlance wiLh the faw of the
place whore l-he act or omission occi:rr:ed. 28 U.S.C. S 2.6'1 2.
llhis let"ter consti.t-utes the notj.ce of final det.ermination on thj-s claj-m,
;rs required by 2B l.l.S.C. S 240:l (b) , 2.615(a). Your client's aclrninj"sl-rative
1-ort claim i-s deniecJ.
If ycur client is dissal*isfied with this                 clete::mínati,on, she may:
     1. file a wr:itt.en ::equest witir t.he agency fo:r reconsicler:ati"on of the
     final determination denyì"ng the claims within six (6) mc¡nt--hs from the
     daLe of mai1,,i"ng of l-his cJetermination (28 C.f .R. S 14.9) ; or


                                                  EXHIBIT

                                                      B
 Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 39 of 51 PageID #:39


Francis   P   Morrissey, Esquire
2016-0381
Page 2


  2. fil.e suit against the United States in the appropriate federal-
  district court within six (6) months from the date of mailing of this
  determination (28 U.S.C. S 2401(b) ) .
In the event your client requests reconsideration, the agency will revíew
the cJ-aim within six (6) months from the date the request is received. If
the reconsidered claim is denied, you may file suit within six {6) months
from the date of mailing of the final det,erminatÍon.
                                     Qi n¡a
                                                 Y,



                                     Vüil"liam        s
                                     Deputy As   iate General CounseL
                                     C}aims and Emplo)¡ment Law Branch
        Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 40 of 51 PageID #:40




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

ALMA MANZANARES, Individually                      )
and as Mother and Next Friend of ALMA              )
ADELINA ESPINOZA MANZANARES,                       )
a   Minor,                                         )
                                                   )
                 Plaintiffs,                       )
                                                   )
                                                   )
                                                   )            No
THE UNITED STATES OF AMERICA;                      )
ADVOCATE SHERMAN HOSPITAL,                         )
an Illinois corporation;                           )
TATIANA PEREIRA DACLTNHA, M.D.;                    )
MARJORIE LYNN SEVERSON-                            )
LENOX, A.P.N.;                                     )
ADVOCATE HEALTH AND                                )
HOSPITALS CORPORATION d/b/a                        )
ADVOCATE MEDICAL GROUP,                            )
an Illinois corporation;                           )
ASHOK KUMAR-MEHTA, M.D.; and,                      )
WELL CARE NEONATOLOGISTS,                          )
S.C., an Illinois corporation,                     )
                                                   )
                 Defendants.                       )

                   ATTORNEY AFFIDAVIT PURSUANT TO 735 ILCS                    512-622

           FRANCIS P. MORRISSEY, duly sworn upon oath, deposes and states as follows:

           L      I   am an attorney with the law firm of Burke Wise Morrissey    & Kaveny    and am

duly licensed to practice law in the State of Illinois.

           2.     I   have consulted and reviewed the case with health professionals, who I

reasonably believe: (i) are knowledgeable in the relevant issues involved in this particular action;

(ii) practices or has practiced within the last 6 years or teaches or has taught within the last six

(6) years in the same area of health care or medicine that is at issue in this particular action; and

(iii)   are qualifìed by experience or demonstrated competence in the subject of this case.

                                                   EXHIBIT
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                                             o
                                             o
                                             g            c
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 41 of 51 PageID #:41




       3.      The healthcare professionals have determined in the attached written reports, after

a review of the medical record and other relevant material involved in this particular action tbat a

reasonable health professional would have informed the patient          of the   consequences    of   the

medical treatment and procedures.

       4.      The healthcare professionals have also determined in written reports, after              a


review of the medical record and other relevant material involved in this particular action that

there is a reasonable and meritorious cause for filing of a cause of action against The United

States of America and its employees, Greater Elgin Family Care Center and Diane Lynn Smith,

C.N.M.; and Tatiana Pereira Dacunha, M.D.; Marjorie Lynn Severson-Lenox, A.P.N.; Advocate

Health and Hospitals Corporation dlbla Advocate Medical Group, Ashok Kumar-Mehta, M.D.;

and, Well Care Neonatologists, S.C. who were involved in the care and treatment of Alma

Manzanarcs and Alma Adelina Espinoza Manzanares, a Minor on or about June 17,2015, for

breaches of the applicable standard of care as reflected in the attached reports.

       5.      I   have concluded on the basis of the reviewing healthcare professionals' review

and consultation that there is a reasonable and meritorious cause for   fìling of such action.

       6.      A copy of the written reports of the healthcare professions, physicians licensed to

practice medicine in all its branches, who are qualified by experience with the standard of care,

methods, procedures and treatments relevant to the allegation at issue in this case against The

United States of America and its employees, Greater Elgin Family Care Center and Diane Lynn

Smith, C.N.M.; and Tatiana Pereira Dacunha, M.D.; Marjorie Lynn Severson-Lenox, A.P.N.;

Advocate Health and Hospitals Corporation dlbla Advocate Medical Group, Ashok

Kumar-Mehta, M.D.; and, Well Care Neonatologists, S.C. are attached hereto.




                                              .'
    Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 42 of 51 PageID #:42




       FURTHER AFFIANT SAYETH NAUGHT




                                              Francis P. Morrissey




SUBSCRIBED and SV/ORN TO before
me this lc-. of December, 2016


                                      SEAL"
                      N                       lak

        N otary Pu




Francis P. Morrissey
fpmlg)bwrnklaw.com
Illinois State Bar I.D. No. 6216580
Burke Wise Morrissey & Kaveny
161 North Clark Street, Suite 3250
Chicago, Illinois 60601
(312) s80-2040
(3r2) s80-2041




                                           a
                                          -J-
  Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 43 of 51 PageID #:43




                                                            April 19,2076
Francis P. Morrissey
Burke Wise Morrissey Kaveny
161 N. Clark
Suite 3250
Chicago,IL   60601


       Re: Almø Mqnz,anøres
           Your File No.: 15-51



Dear Mr. Morrissey

      At your request, I have reviewed the medical records pertaining to the birth of Alma
Manzanares Espinoza. The records I have reviewed are as follows:

       Sherman Hospital
       Delivery RecordsÆHTs (61 l7 -6/ l8l I 5)
       Newbom Records (61 17 -61 l8l 15)
       NSTS (x7)

       Greater Elgin Family Care Center
       Prenatal Record

        As you know, I am a physician licensed to practice medicine in all of its branches. I
specialize in the fîeld of Obstetrics and Gynecology, with a subcertification in Maternal-Fetal
Medicine and am board certified in both.
  Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 44 of 51 PageID #:44




                                                                                      Page2
                                                                                      April 19,2016


         Basecl upon my review of the records, Alma Manzanares, was a gestational diabetic who
was nìanaged by nurse midwives while in labor at Shennan Hospital. She was admitted on
June 1 7 ,2015 at 3:29 a.m. The Electronic Fetal Monitor (EFM) tracing showed a reassuring
tracing upon adrnission, which is indicative of fetal well-being. Ms. Manzanares progressed
slowly through labor; upon admission she was 3 centimeters dilated. Sixteen l.rours later at
7:47 p.m,, she was I 0 centimeters dilated and ready to begin the second stage of labor involving
maternal efforts o{'pushing, however, she hacl never been seen or assessed by a physician or
nurse midr.vife since adrnission.

      Diane Smith, CNM, of Greater Elgin Family Care Center, arrived at 8:09 p.m.;
Ms. Manzanares began pushing two minutes later. Descent with pushing was documented at
8:l9p.m.and8:25p.m. At8:3gp.rn.,thefetaltracingwaslostuntil delivery2lminuteslater
During labor, it is important to continuously monitor the fetus, particularly during the second
stage, in orcler to identify hypoxic episodes for the fetus.


        Baby Alma's head was delivered at 8:47 or 8:48 p.m., but her shoulders became lodgecl
in her mother's pelvis; this is also known as a shoulder dystocia, which is an obstetrical
elnergeÍìcy. Diane Smith, CNM, was unable to cleliver the baby. Dr. Miller arrived at 8:52 p.m.,
but was unable to deliver the baby. Dr. Estes arrived at 9 p.m. and rvas able to successfully
deliver Baby Alma at 9:01 p.m.,27 rninutes after the loss of tracing.

        Alma was born with Apgar scores of 0l0l0l0l1l1 at l,5, 10, I 5,20, and 30 minules of
age. "l"hese scores are indicative of an asphyxiated baby. She was ultimately transferrecl to
Lutheran General Hospital for higher level of care.

         It is my opinion, based upon   a reasonable degree of medical ceflainty in the held of
obstetrics and gyr-recology, that there is a reasonable and meritorious basis for bringing a cause of
action against l)iane Smith, CNM and Greater Elgin Farnily Care Center. Further it is my
opinion that Midwife Srnith deviated from the standard of care required of her in the following
respects:


    a)   Failed to come and assess Ms. Manzanares during the active phase of labor;
    b)   Failed to place an internal fetal scalp electrode at 8:39 p.m., cluring
         the second stage of labor;
    c)   Failed to monitor fetal well-being;
    d)   l.'ailed to recognize the presence of fetal jeoparcly during the course of labor; and,
    e)   Irailed to perfbrm appropriate manellvers to relieve shoulder dystocia including
         corkscrew nlaneuvel', perfitnning a large etrrisiotomy, and delivering the posterior amr
  Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 45 of 51 PageID #:45




                                                                                  Page 3
                                                                                  April 19,2016


        It is my opinion based upon a reasonable degree of medical certainty that one or more   of
the foregoing acts or omissions were a proximate cause of the injuries sustained by Alma
Manzanares Espinoza.

                                     Sincerely,
  Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 46 of 51 PageID #:46




                                               April l-1.2016



[:r'ancis P. Molrissey
LÌurke Wise Morrissey Kaveny
1ó1 NoÉh Clark Street, Suite 3250
Chicago, Illinois 60601

        ße:         Alms Muuzcnøres

Dcar Mr. lvlorrissev

       A1 your" requ{¡st, I have revier,vecl lhe mcclic¿ll records pertair:ing to the birth o1'Alma
Manz,anares hlspinoza. 'l'he rccotds I have levieweci ¿lre as fallows:

        SJrqrnrân H$snit$l
               Delivery RecordslFFl'l's (6117 -61 181 I 5)
               Newbonr lìecorcls {61 l7 -61 1 81 1 5)
               NS'T'S (x7)

        (ìrcater lllcin Familv Care Ccnter
                    Prenalal lTccorci

        As you know, I am a phy.sir:ian licensed to practice meclici¡re in all ol'its branches. I
specíal)z,e in the ñeld of'Pecli¿trics. with a sub-certilication in Neonat¿ll-Perinat¿tl Medicine.

        Based upon my review ol'the recorcls, Alnra Manzanai'es was â gestaliCIna¡ cliabetic who
               by nurse miclwives rvhile in labor at Shenu¡lr: llospitnl. lihe was admitted on
\.vas rn¿ì¡r¿ìged
June IÍÌ, 2015 at 3:'2A a,m. 'I'he lilectr<xic þetal h4onitor l[it"M) tracing showcd a reassuring
tracing upon admission. which is indicative of fbta.l well-being. Ms. Manzanares progresse<l
slowly tlrrough labor'; upon admissiou she r.vas 3 centimeters tlilated. Sixleen hours later al7:47
p.m.. she was l0 centimeters dilated ancl reacly to push her lraby out, however, she had nevet'
been seen or assesstlcl bv a phi,sician or nurse midrvife since arirnission.
  Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 47 of 51 PageID #:47




April l3,2lll6



          Diane Smith. CNM,        (hcater hligin Family Car:e Center, arrived at 8:09 p.rr.l
                                    <':T
h4s. M¿lnz.anares began pr"rshing two rninutes later. f)escent with pushing was dooumented at
fl:19 p.rrr. anú 8:25 p.t*. At B:39 ¡r.nr., tlre lètal traciug wâs lost until cleliver¡' twetrty-one
minutes later.

         Baby Alma's heacl was deliveted at 8:4-l p.m. clr 8:48 p.m., bul her shoulders became
lodgecl  in her mother's pelvis; this is also known as å shoulder dysfoci*. Di¿r¡re Smith, CNM.
w¿is unablc to deliver the baby. Dr. Milli:r arrivccl at tl:-52 p.m., bnt was unable to delivcr the
baby. Dr. llstes arrived at I p.rn. ancl was able to successfi;lly deliver Llaby Ä.lma at 9:01 p.m.,
l\,venly-one ¡ninutes aller Ihe loss ol'tracing,.

          liaby Ahna    w¿rs born with.A,pgal soores of A/AKllAllll al1,5, 10, 15,20, alld 30 nrinutcs
of'age.   'l'hese scores are consistcnt witir rhe cliagnosis of asphyxia. llaby Alma's anerial Ph was
7.067 with a base cxcess ç{ -6.7; her venous Ph was 7.25 v¿itlt a base sxcsss t>1. -6.6. '['hese base
clelìcit results a¡'e not associalecl with an impairerl outcomo,

         Margie b,enox, Neonatal Nurse PractiTioner' (NNlt) was unablc to intuhate Baby Alma at
birth. Dr". !'ereira, pecliatric hospitalist, inlubafecl llaby Älma at severr minutes of lifb.
[.lpinephrine wâs then given ciown the enclotl'acheal tube iwioe without a change in ]rer condition.

          An u:nbilical venous çatheter ({lvq was insefted at twelve minutes of lif'e. Additiolral
doses otl Dpinephrine were given via the LJVC. At 20 rninutes tsf. age,llaby Alma hacl a heart
rate of l2{} hprn, which is lhe nor¡nal ratc for a telrl ner¡,born. She rvas also noted to have ¡rale
pinl< color'at this limö, which was improved lì'om hcr pale color at birth. No further vital signs
were notecl hy rhe slaf'f until over ¿1n hoL¡r later. '['he documented Apgar sÇûte ¿t twenty uriuules
ol'lilb   wl'ìs not prcperly clocurnented,

         Lif'e support was discontilrucd af 9:37 p,rn., sixteen rninutes af'ter obtaining a normal heart
rate and assessñlent of pale pink skin ccior. MsMut'zanares wâs given her traby1o hc¡ld whilc
Ilaby Al:na wâ:i sxpecled to die. Ms. Manzanares did not w¿lr1t the rcsuscitation team to sÍop
provir"ling car:e. She ilr fact called 9li. clespcrafe fbr hclp f'cr h;r'baby girl, but was told that
since she w¿rs in rhe hcspital already, they could lrol rt:spond to thc call.
  Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 48 of 51 PageID #:48




April l3,2Al6



        Thc nursery staff returned to give care at 1A:29 p.m. Ilaby Alrna's heart rate was
139 bpn:, again a normal heart rate fbl a newborn. She was ultirnately translirred to l,ntheran
Oencr¿.ll l lospital for higher level of care.




         It is nry opinion" basecl up{in a rciisrxrÌrl}{e deglce'af nrcilical certainty in the llcld of
pecliatrics and ueonatal medicine, thaï thcre is a reasonable and nreritorious basis fbr bringing a
câuse of'acliort againsl Margie Lsrurx" NNP, Dr. "l"atiana Periera l)¿¿cunha, ancJ llr. Ashok K.
lVte hta. Fr¡rther it is my opinir:rr tlrat they clevi¿¡lecl üom thc sl¡¡ndarcl o{'care tequired ol'them in
the fbl lowing respeot.T:

                irailed tc, timely arrd properly resuscitate Bahy Âlma ancl tc¡                 docunrent
                resuscilative sfk)rts ancl resr"rlts;

        2.      Failed to obtain {'ollow-up Lrlooti gases ili a trrreviously non-acir"li:tic baby afier
                norn:¿rlizatiort ol'Bahy Âlma's he¿rt late wilh extensive resuscitative sl'fbrls; ând,

        3       Inrproperly stopped ¿l1l resr.lscitalive *re¿¿surqs and extubated l-ìaby Alnra clespite
                inrpri:ving signs of. bilatcral breath soulds, biood pressure and heart rate without
                docunentaticn of progressive acidosis or parental consent.
  Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 49 of 51 PageID #:49




April 13.2016



        It is my opinion  based upon a reascnable degree of medical certainty that one or more ¡:f
the lbregr:ing acts ç:r ¿rmissions çausecl r:¡ contributecl ta çâuse the iniuries sustained by Âlma
M ¿urz¿rllares [ispirroza.

                                              Very truly yûurå*"
Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 50 of 51 PageID #:50




      April28,2016

      Francis P. Mor.rissey
      Burke Wise Morrissey & Kaveny
      L61" North Clark Street
      Suite 3250
      Chícago, lllÌnois 60601

      Re: Alma Manzanares

      Dear Mr. Morrissey:

      At your request, I have reviewed the medical records pertaining to the birth of         Alma
      Manzanares Espinoza. The records I have reviewed are as follows:

              Advocate Sherman Hospita              I
              De   livery Records/FHT s     {106/   L7,A6h,B/ j"5)
              Newborn Records       (06 I   fi -A6/ß/ tSJ
              NSTS {x7)


              Greater Êlgin Farnilv Care CêntBJ
              Prenatal Record

      As you know, I am a certified nurse  midwife, Based upon my review of the records, Alrna
      Manzanares was a gestational diabetic who was managed by nurse midwíves while in labor
      at Advocate sherman Hospital. She was admitted on June t7, zal5 at 3:29 a.m. The
      Ëlectronic Fetal Monitor (EFM) tracíng showed a reassuring trac¡ng upon admission, whlch
      is indicative of fetal well-being. Ms. Manzanares progressed slowly through labor; upon
      admission she was three centimeters dilated. Sixteen hours later at 7:47 p.m., she was 10
      centímeters dilated and ready to begin the second stage of labor involving maternal efforts
      of pushing; however, she had never been seen or assessed by a physician or nurse midwife
      since admission.

      Diane 5mith, cNM,        of   Greater Elgin Family care center, arrived      at g:09 p.m.;
      Ms. Manzanares began pushing two minutes later. Descent with pushing was documented
      at 8:19 p.m, and 8:25 p"m. At 8:39 p.m., the fetaltracing was lost t¡ntll delivery twenty-one
      minutes later. During labor, ¡t is important to continuously rnonitor the feTus, particularly
      during the second stage, in order to identify hypoxic episodes for the fetus.
Case: 1:16-cv-11328 Document #: 1 Filed: 12/13/16 Page 51 of 51 PageID #:51




       Francis P, Morrissey
       April 28,2016
       Page 2



       BabyAlma's head was delivered at8:47 or8:48 p,m., but hershoulders became lodgecl in
       her mother's pelvis; this is also known as a shoulder dystocia, which is an obstetrÍcal
       emergency. Diane Smith, CNM, was unable to del¡ver the baby. Dr. Miller arrived at g:52
       p.m', but was unable to del¡ver the baby. Dr. Ëstes arrived at g:00 p.m. and
                                                                                         was able to
       successfully deliver Baby Alma at g:01 p.m.,2r minutes after the loss of tracing.

      Alma was born with Apgar scores of o/a/o/t11,/1. at J^, s, 1.0, rs, zt, and 30 minutes of
                                                                                                age.
      These scores are indicative of an asphyxiated baby. She was ultimately transferred to
      Advocate Lutheran General Hospital for a higher level of ca¡"e.

      It is my opinion, based upon a reasonable degree of medical certainty ín the field of
      obstetrics and gynecology, that there is a reasonable and merítorious basis for brínging a
      cause of action agaÎnst Diane Smith, CNM and Greater Elgin Family Care Center. Further,
                                                                                                it
      is rny opinion that Midwife Smíth deviated from the standard of care requíred of her in
                                                                                              the
      following respects: Failed to come and assess Ms. Manzanares during the active phase of
      labor;

                1".       Failed   to   place an internal fetal scalp electrode at g:3g p.m., during the
                          second stage of labor;
                2.        Failed to monítor fetal well-beÌng;
                3.        Failed to recognize     the presence of fetal jeopardy during the course of
                          labor; and,
                4.        Failed to perform appropriate mâneuvers to relieve shoulder dystocÌa
                          including corkscrew maneuver, performing a large episiotomy, and
                          deliverìng the posterior arm.

      It is my opinion based upon a reasonable degree of medical certainty that one or more of
      the foregoing acts or omissions were a proximate cause of the injuries sustained by Alma
      Manzanares Espinoza.

      Very truiy yours,
